Case 1:11-cr-00270-JRH-BKE Document 34 Filed 02/23/12 Page 1 of 6


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                                                                             U.S.DISTRICT COURT
                                                                                 AUGUSTA DI
                      IN THE UNITED STATES DISTRICT COURT
                                                                           20121E823 AM 8:37
                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION                       CLER2L
                                                                                             GA.
UNITED STATES OF AMERICA                       )
                                               )
                V.                             )       CR 111-270
                                               )
 CLEVELAND DAVID HALL, II                      )


         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


        Defendant Cleveland David Hall, II, is before the Court charged with one count of

 possession with intent to distribute 5 kilograms or more of cocaine, a Schedule II controlled

 substance, in violation of 21 U.S.C. ,S 841(a)(1). (Doc. no. 1, Indictment.) The Court

 previously determined that a psychiatric examination of Defendant was warranted to

 determine whether Defendant may suffer from a mental disease rendering him unable to

 understand the nature and consequences of the proceedings against him or to assist properly

 in his defense, as well as to determine the existence/non-existence of insanity at the time of

 the charged offenses; therefore, the Court ordered that Defendant be examined pursuant to

 18 U.S.C. § 4241 and 4242. (age doe. no. 26.) Defendant was then transported to the

 Federal Detention Center in Miami, Florida, to undergo a mental examination, and Dr. Jorge

 Luis, licensed forensic psychologist, prepared a forensic report concerning the assessment

 of Defendant during his time in Miami; Dr. Luis's report was provided to the Court and to

 counsel for both the government and for Defendant. (Doe. no. 28, filed under seal on Dec.

 8, 2011.) Once Defendant was returned to this District in February, 2012, the Court set the

 matter down for a hearing on February 21, 2012.
Case 1:11-cr-00270-JRH-BKE Document 34 Filed 02/23/12 Page 2 of 6




I.     THE HEARING

       Dr. Luis testified by telephone at the February 21" hearing, Upon presentation of his

credentials and without objection from the defense, the Court accepted Dr. Luis as an expert.

Dr. Luis then provided testimony, subject to cross-examination by defense counsel,

concerning the findings in his forensic report. Dr. Luis explained that upon Defendant's

arrival at the Miami facility, he participated in the initial interview and completed one

psychological measure, the Kaufman Brief Intelligence Test - Second Edition (KBIT-2),

which yielded a finding of "average" intelligence. (Doe. no. 28, p. 5.) However, upon

commencement of the Booklet Category Test - Second Edition (BCT), Defendant

discontinued his cooperation in the third of seven portions of the test, and Defendant refused

further testing. An evaluator met with Defendant on two subsequent dates, September 28

and October 5, 2011, but both times Defendant refused further testing.

        Despite this lack of cooperation, Dr. Luis was able to offer his expert opinion that

"there is no evidence that [Defendant] is currently experiencing the active phase of a mental

disorder that would render him unable to understand the nature and consequences of the

proceedings against him at this time. Therefore, it is recommended that the defendant be

found Competent to Stand Trial." (j. at 7.) Dr. Luis further opined that Defendant "was not

suffering from the symptoms of a mental disorder or defect that impaired his ability to

appreciate the nature and quality of the wrongfulness of his acts." (Ld. at 8.)

        In particular, Dr. Luis recognized in Defendant's actions a type of defense strategy

that "is not based on confused or delusional thinking, or any symptoms of an active phase

of mental illness." (Ld. at 7.) Rather, Defendant appears to have chosen a strategy increasing


                                               2
Case 1:11-cr-00270-JRH-BKE Document 34 Filed 02/23/12 Page 3 of 6




 in popularity among criminal defendants in Federal Courts in which a individual follows a

 pattern of non-cooperation in court proceedings based on the following assertions:

        [A]n individual can copyright and/or claim his own name and/or person as
        property, that all crime is commercial crime, and that the Courts do not have
        legitimate jurisdiction (some sites refer to the United States not being on the
        "Gold" Standard since 1933 as to the cause), to name a few. Reportedly,
        many defendants have filed multi-million dollar lawsuits againstjudges and
        prosecutors for uttering the defendant's name during trials. These claims
        arise from the assertion that by filing with the Uniform Commercial Code one
        establishes ownership over oneself and is thus a "sovereign being" and a
        "Secured Party Creditor." Some website postings provide "Court Survival
        Guide(s)" and detail all types of arguments similar to those proposed by the
        [D]efendant (i.e., UCC Filing Secured Party Creditor, jurisdiction of courts,
        Admiralty Jurisdiction, filing lawsuits against Court personnel, etc.)."

 (Id.) Indeed, as explained in the Order directing that Defendant undergo a psychiatric

 evaluation, Defendant has exhibited this pattern of non-cooperation and frivolous motions

 filing from the beginning of this case. (See doe. nos. 13, 26.)

         During the limited evaluation in which Defendant participated, he exhibited

 organized, rational, sequential, and coherent thought processes, and he displayed adequate

 attention and concentration skills. (Doe. no. 28, p. 4.) Defendant demonstrated an

 understanding that he had been charged with intent to distribute cocaine, and he understood

 that a conviction on this charge could result in his incarceration for a period of 10 years to

 life. (Ld. at 7.) Moreover, Defendant had no mental health concerns and did not demonstrate

 any behavior requiring psychological interventions or special attention. (]4 at 4-5.)

        Dr. Luis also testified that Defendant had no behavioral difficulties during the entirety

 of the 45 days allotted for his metal evaluation, nor during the time in which he remained in

the Miami facility until the U.S. Marshal's Service returned Defendant to this District. Dr.



                                                3
Case 1:11-cr-00270-JRH-BKE Document 34 Filed 02/23/12 Page 4 of 6




 Luis further testified that throughout his placement at Miami, Defendant functioned

 adequately; his hygiene, grooming, and eye contact were all adequate, and Defendant was

 oriented to his circumstances. In sum, Defendant had no problems whatsoever during his

 time in Miami.

        Although appointed defense counsel did cross-examine Dr. Luis, no evidence was

 offered by the defense to contradict Dr. Luis's finding of competency. In fact, Defendant

 stated on the record that he is alive, competent, and capable of handling his own affairs.'

 FTR 2:40.39-44.

 IL ANALYSIS

        The issue before the Court is whether Defendant is competent to stand trial, even

 though the scope of the Court's Order for a psychiatric examination order was much broader.

 Title 18 U.S.C. § 4241 provides the standard for determining competency and the

 consequences for a finding of competency. In pertinent part, the Code section provides:

         (d) Determination and disposition.--If, after the hearing, the court finds
        by a preponderance of the evidence that the defendant is presently suffering
        from a mental disease or defect rendering him mentally incompetent to the
        extent that he is unable to understand the nature and consequences of the
        proceedings against him or to assist properly in his defense, the court shall
        commit the defendant to the custody of the Attorney General.

 18 U.S.C. § 4241(d).

        On numerous occasions, the Supreme Court has recognized that "the criminal trial

 of an incompetent defendant violates due process." Cooper v. Oklahoma, 517 U. S. 348, 354

 (1996) (citing Medina v. California, 505 U.S. 437,453 (1992); Drope v. Missouri, 420 U.S.


         'Although a transcript of the hearing has not been prepared, the Court has been able
 to review the proceedings on the Court's recording system, For the Record ("FTR").

                                              4
Case 1:11-cr-00270-JRH-BKE Document 34 Filed 02/23/12 Page 5 of 6




 162, 171-72 (1975); Pate v. Robinson, 383 U.S. 375, 378 (1966)). The Eleventh Circuit has

 suggested a two-part analysis to evaluate competency to stand trial: "(1) determination of

 whether the defendant suffered from a 'clinically recognized disorder,' and, (2) if so, whether

 the disorder caused the defendant to be incompetent." James v. Singletary, 995 F,2d 187,

 188 (11th Cir. 1993) (per curiam) (citing Bundy v. Dugger, 850 F.2d 1402, 1408 (11th Cir.

 1988)). As to the second prong of the test, a defendant is considered competent to stand trial

 if "he has sufficient present ability to consult with his lawyer with a reasonable degree of

 rational understanding - and. . . a rational as well as factual understanding of the proceedings

 against him." Dusky v. United States, 362 U.S. 402, 402 (1960) (per cur/am); see also

United States v. Nickels, 324 F.3d 1250, 1252 (11th Cir. 2003) (per cur/am) (recognizing

Dusky competency standard). Here, viewing the information in Dr. Luis's report in light of

the above standards, and recognizing that Defendant did not offer any evidence of his own

at the hearing - let alone evidence to contradict Dr. Luis's conclusions' - there is no reason

to doubt Dr. Luis's recommendation that Defendant should be found competent to stand trial.

Moreover, Defendant's appearances before the Court and filings on the record (e.g., doc. no.

13), further support the conclusion that Defendant's behavior is not the result of any mental

issues but rather is a calculated defense strategy based on certain tenets of the "Sovereign

Citizens" movement as described in Dr. Luis's report.

        Therefore, based on the record developed to date in this case and evidence adduced

at the February 2P hearing, including Dr. Luis's forensic report and testimony, the Court



      'In fact, as set forth previously, Defendant professed his competency at the hearing.
FTR 2:40.39-,44.
Case 1:11-cr-00270-JRH-BKE Document 34 Filed 02/23/12 Page 6 of 6




FINDS by a preponderance of the evidence that Defendant has sufficient present ability to

consult with his lawyer with a reasonable degree of rational understanding;' Defendant also

has a rational, as well as factual, understanding of the proceedings against him.

III. CONCLUSION

        For the foregoing reasons, the Court REPORTS and RECOMMENDS that

Defendant be found competent to stand trial pursuant to 18 U.S .C. § 4241.

        SO REPORTED and RECOMMENDED thi34 2day of February. 2012, at

Augusta, Georgia.


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                                                 W. LEON IYARFIELD/ )
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                                                 UNITED StATES MA($fRATE JUDGE




       'The issue of Defendant's desire to proceed without the assistance of his appointed
counsel will be addressed by separate order.

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